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IN THE UNITED STATES DIsTRICT CoURT
FoR THE WESTERN DISTRICT oF TEXAS

   

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LEE ORTIVEZ AND ERLINDA ORTIVEZ, § ." ' " " g ig
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PLAINTIFFS, § , ,
§ w / ` ` ’ - " ,1 ":?'
"" : ‘ \ y ` ` ~ n \;.._:'
vs. § f ACIVIL AQTIQN_NQ./L;____’ “"
§
CAvco INDUSTRIES, L.L.C.; §
CRG HoLDINGs, L.L.C. D/B/A CAvco §
HoME CENTER, RoBERT ORTIZ D/B/A §
TRACTORWORKS AND CHASE §
MANHATTAN BANK, USA7 N.A. §
§
DEFENDANTS. §
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TO THE HONORABLE UNITED STATES DISTRICT JUDGE FOR THE WESTERN DISTRICT OF TEXASI

1 . CAVco INDUSTRIES, L.L.C. AND CRG HoLDINGs, L.L.C. D/B/A CAvco HoME CENTER
are Defendants in a civil action filed on April 30, 2001, in the County Court At Law of Hays County,
Texas, entitled Lee Ortivez and Erll`nda Ortl`vez, Plaintiffv. Cavco Industries, L.L. C,' CRGHOIdings,
L.L.C. d/b/a Cavco Home Cem‘er, Robert Ortl`z d/b/a Ortiz Tractorworks and Chase Manhaltan
Bank, USA, N.A., Defendants, Cause Number 6708-C, a copy of all documents served upon this
Defendant is attached hereto as Appendix “A” which is proceeded by an index listing all documents
in said tile.

2. The Original Petition was filed on April 30, 2001. The citation and petition in this
action was served upon Defendants CAvCo INDUSTRIES, L.L.C. AND CRG HoLDINGS7 L.L.C. D/B/A
CAVCO HOME CENTER on May 3, 2001. This Notice of Removal is filed within thirty days of the
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receipt by Def`endants of an Order, Petition, or Complaint from which it may first be ascertained that
the case is one which is or has become removable Furthermore, this Notice of Removal is being filed
within one year after commencement of the action Therefore, this Notice of Removal is timely filed
pursuant to 28 U. S.C. §l446(b). No other Defendants in the state court action have been served and
filed answers therein as of the date of the filing of` this Notice of Removal The only other Def`endant
to have been served as of the date of this filing is CHASE MANHA'ITAN BANK, USA, N.A. which
consents to the removal of this matter to federal court.

3. This action is a civil action of which this Court has original jurisdiction under 28
U.S.C. §1331, and is one which may be removed to this Court by Def`endants pursuant to the
provisions of 28 U. S.C. §l441(b) in that it arises under Federal law, namely 15 U. S.C. §2301 et. seq.
(MAGNUsoN Moss WARRANTY ACT)7 15 U_ S.C. §1692 et seq. (FAIR DEBT CoLLEcTIoN PRACTICES
ACT), and 15 U.S.C. §1681 et seq. (FAIR CREDIT REPORTING ACT). In this regard, Plaintif’f` seeks
recovery pursuant to causes of action arising under the statutes of the United States Code as alleged
in Plaintif‘f`s Original Petition attached hereto as Appendix “B”.

4. This action is a civil action of which this Court has original jurisdiction under 28
U.S.C. §l33l. Moreover, the amount in controversy exceeds the sum of` $75,000, exclusive of
interest and costs because:

a. Plaintif’f` seeks an award of exemplary or punitive damages(Attachment “B,”

11133);

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b. Plaintiff seeks the award of three times the amount of Plaintifi’ s economic and

mental anguish damages pursuant to the TEXAS DECEPTIVE TRADE PRACTICES

ACT §17.50 (Attachment “B,” 198 and 131); and

c. In addition to the damages sought above, Plaintifi` seeks the recovery of`

attorney’s fees accruing at $250 per hour to be considered in determining the

amount in controversy (Attachment “B,” 1138).

Plaintifi` alleges a recovery of not to exceed $65,000.00, said allegation being a false assessment of

the case or an incompetent assessment of the same.

5. All Defendants served herein join in this Notice of Removal.

WHEREFORE, PREMISES CoNsIDERED, Defendants CAvco INDUSTRIES, L.L.C. AND CRG

HoLDINGs, L.L. C. D/B/A CAvco HoME CENTER remove this action pursuant to 28 U. S.C. §1446 from

the County Court at Law of Hays County, Texas.

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Respectf`ully submitted,

SHADDox, CoMPERE, WALRAVEN & GooD
1250 N.E. Loop 410, Suite 725

San Antonio, Texas 78209

210/822-2018

 

 

STEP`HKNIE O'RouRKE
State Bar No. 15310800

ATToRNEYs FOR DEFENDANTS, CRG
HoLDtNGs, L.L.C. D/B/A CAvco HoME
CENTER AND CAvCo INDUSTRIES, L.L.C.

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the above and foregoing NOTICE OF REMOVAL
has been sent via certified mail, return receipt requested, on this the 1st day of` June 2001, to:

Mr. F. Terry Callahan

LAw OFFICEs oF F. TERRY CALLAHAN, P.C.
311 W. Laurel

San Antonio, Texas 78212

 

STEPHANIE`§'ROURKE

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IN THE UNITED STATES DISTRICT COURT
FoR THE WESTERN DISTRICT oF TEXAS

AUsTIN DlvlsloN
LEE ORTIVEZ AND ERLINDA Oersz, §
§
PLAlNTlFFs, §
§

vs. § CIvIL AchoN No.

§
CAvco INDUSTRIES, L.L.C.; §
CRG HoLDtNGS, L.L.C. D/B/A CAVCO §
HoME CENTER, RoBERT ORTLZ D/B/A §
TRACTORWORKS AND CHASE §
MANHATFAN BANK, USA, N.A. §
§
DEFENDANTS. §

APPENDIX “A”

1. Plaintiff" s Original Petition;
2. Notices of Service of Process;
3. Civil Citations;

4. Defendant’s, Cavco Industries, L.L.C. and CRG Holdings, L.L.C. d/b/a Cavco Home
Center’s Original Answer

APPENDIX “A”
SOR/ssB/l 3028-003/CEN1Ex/0anEz/APPENDIX “A”
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WESTERN DISTRICT oF TEXAS
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Civil CaSe No. A-Ol-CA-352 SS
LEE GRTIVEZ, et al
VS.

CAVCO INDUSTRIES, et al

Attachments to

Document #: l

Description: Copy of State Court Pleadings attached
Filed By: Cavco Industries and CRG Holdings
File Date: 6/4/01

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DEPUTY CLERK

